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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   --------------------------------------------------X
   STATE FARM MUTUAL AUTOMOBILE                                 NOTICE OF FILING
   INSURANCE COMPANY,                                           AFFIDAVIT OF SERVICE


                                      Plaintiff,                1:04-CV-02609-NG-SMG

   -against-

   SEMION GRAFMAN, et al.,

                                       Defendants.
   --------------------------------------------------X

   To: COUNSEL AND PARTIES OF RECORD

           The Plaintiff, State Farm Mutual Automobile Insurance Company, by and through its

   undersigned counsel, hereby files the attached Affidavit of Service personally serving the Motion

   to Avoid Graham Property Transfers [DE: 1263] on May 26, 2016 upon Edward Koretsky at

   2448 East 22nd Street PH, Brooklyn, NY 11235.

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

   CM/ECF notice of electronic filing to all parties registered to received electronic noticing in this

   case on this 1st day of August, 2016.

                                                            /s/ Philip J. Landau
                                                         Philip J. Landau (PL 9613)
                                                         SHRAIBERG, FERRARA, LANDAU, & PAGE, P.A.
                                                         Attorneys for State Farm Mutual
                                                         Automobile Insurance Company
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                                                         Boca Raton, FL 33431
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